           Case 1:18-cv-04727-ELR Document 19 Filed 10/19/18 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


GEORGIA COALITION FOR THE                 *
PEOPLE'S AGENDA, INC., as an              *
organization, et al.,                     *
                                          *
               Plaintiffs,                *
                                          *
      v.                                  *         1: l 8-CV-04 727-ELR
                                          *
BRIAN KEMP, in his official capacity      *
as Secretary of State for the State       *
of Georgia,                               *
                                          *
               Defendant.                 *
                                          *

                                    ORDER


      On October 11, 2018, Plaintiffs Georgia Coalition for the Peoples' Agenda,

Inc., Asian Americans Advancing Justice-Atlanta, Inc., Georgia State Conference

of the NAACP, New Georgia Project, Inc., Georgia Association of Latino Elected

Officials, Inc., and ProGeorgia State Table, Inc. filed a complaint against

Defendant Brian Kemp, in his official capacity as Secretary of State for the State of

Georgia. [Doc. 1]. An executed and returned waiver of service for Defendant was

filed on October 16, 2018. [Doc. 14].

      On October 19, 2018, the same Plaintiffs as listed above along with

Plaintiffs The Joseph and Evelyn Lowery Institute for Justice and Human Rights,
         Case 1:18-cv-04727-ELR Document 19 Filed 10/19/18 Page 2 of 2




Inc. and Common Cause filed an amended complaint against Defendant Kemp.

[Doc. 15].    Also on October 19, Plaintiffs Georgia Coalition for the Peoples'

Agenda, Inc., Asian Americans Advancing Justice-Atlanta, Inc., Georgia State

Conference of the NAACP, Georgia Association of Latino Elected Officials, Inc.,

and ProGeorgia State Table, Inc. filed an Emergency Motion for Preliminary

Injunction.   [Doc. 17].    Pursuant to the undersigned's Instructions, Plaintiffs'

counsel contacted the Court to request emergency consideration of Plaintiffs'

Motion due to the fact that Plaintiffs seek relief related to the upcoming

November 6, 2018 election. Plaintiffs' counsel further stated that he had provided

Defendant Kemp's counsel a copy of Plaintiffs' Emergency Motion.

      Accordingly, if Defendant intends to respond to Plaintiffs' Emergency

Motion    [Doc.   17],     Defendant   must   file   a   response   by   Wednesday,

October 24, 2018, at noon.     The Court SCHEDULES a hearing on Plaintiffs'

Emergency Motion for Preliminary Injunction for Monday, October 29, 2018, at

1 :00 p.m. in Courtroom 1708, United States Courthouse, 75 Ted Turner Drive,

S.W., Atlanta, Georgia, 30303.

      SO ORDERED, this / q PJay of October, 2018.



                                               ~/&
                                              Eleanor L. Ross
                                              United States District Judge
                                              Northern District of Georgia

                                          2
